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The Honorable Judge Robert H. Whaley
Senior District Judge, Presiding

United States District Coult

Oentral District of California

Dear Honorable Judge,

 

 

My name is Dante Orpilla. On June 23, 2010, you sen :enced me toy erve 27 months in
a Federal Prison. While serving that time, one ot my b ggest goals 1 been to be able
to write you a letter of thanks upon completion of the entence that§ ou handed down
that day. A letter expressing gratitude for imposing a entenoe that= llowed me to pay
my debt to society with time, while still giving me a fai shot at rebut ing my future. Put
simply, you gave me a second chance at |ife, and for at l am bey d gratefu|.

   
 
 
 

Standing before you that day, you made me promise otto make y, u regret that
iudgment, and it was that promise that l kept very clo e to me throti hout the entirety of
my sentence. Your honor, that promise helped me se e my time w hout a single
incident report or disciplinary action taken against me l not only p `clpated ln every
available educational class offered, but was also ask d to teach a gumber cf them as
well, which l did quite willingly. | complied religiously o every requi ement at every step
along the way, without question.

Upon my release from prison. l entered Vrnewood Fl in Los Ang_ les and, again,
diligently abided by the rules set forth by the Govem ent. ln fact, j uring my entire 4
year period in custody, from my arrest in 2008, throu h pre-trial, in‘
residency in RRC, l have not had a single violation. 1

During my 6 month residency in the FiFiC, l’ve also m de great stri, es towards
rebuilding the foundational aspects of my life. l’ve co pleted eve ` required drug
program. l have been able to gain part-time employm nt, and am s to begin full-time
employment on the 28th of June. l have been able to ecure a safe living environment
with family. l’ve stayed completely drug tree. More l portantly, l'v made significant
progress towards becoming a part of my 8 year-old slim Orion’s life again.

While my relationship with Oricn has been strained u der the perio in which l’ve been
in custody, every hour of every day has been sen/ed ith the hope f being able to re-
establish my bond as his father in mind. Though it’s een difficult, l e fought diligently
for my custodial rights, often times at the other end o the prison p§ ne. On Apri| 10th.
2012, a San Bernardino family court judge ordered a isitation sch dule that would
become active upon my release from custody. Thls v sitation west include his first
overnight stay with me in over 2 years, granted uncle the premise§ hat l’d no longer be

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restrained by custody restrictions lt is a milestone tha l’ve worked for harder than
anything in my liie.
On June 15th, the weekend of Fathers Day, l officially ompleted m sentence and was
released from the RRC, excited to begin a positive ne chapter in ` life. A chapter
built on healthy relationships with my family, and pride in once again being a
contributing member of society. f

 

Ail of these accomplishments seemed to come crashi g down on rr_i head a mere 5
days later. On June 21 st, my probation officer inform me of his ces intent to send
me back to a RFtC for an additional 6 months. Thls ad ltional 6 mo` s would not only
make it impossible to accept my new jobl more deva tingly, this a ditional 6 months

would negate the visitation rights with my son that l’v worked so h rd to establish.

   
  

it is with an understanding of these ramifications that beg your ho, or to determine the
intent behind issuance of this additional time. '

Your honor, if this additional time was issued with the intent of helpi g me rehabilitate,
issued with the intent of helping me become a health , productive ember of society, l
fear that sending me back might actually transgress t at intent. lt w uid essentially
ignore the rehabilitation requirements that l’ve alread completed, hile at the same
time reversing huge strides l’ve made in becoming b h a productiv member of the
community as well as a consistently positive presen in my son’s-'l e. l simply ask you
to consider these factors when arriving at your conclu ion. '

Your honor, it is important to note that no matter whict way you det ide to judge in this
matter, l still fully intend to keep the promise l made to you 2 years‘; ago.

l humbly thank you for your time,

t Orpi

 

 

